Case 1:22-cv-01803-FB-JRC Document 14 Filed 07/20/22 Page 1 of 2 PageID #: 77




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

ROTHSCHILD PATENT                   §
IMAGING LLC,                        §                Case No: 1:22-cv-01803--KAM-JRC
                                    §
      Plaintiff,                    §                PATENT CASE
                                    §
vs.                                 §
                                    §
MIMEDIA, INC.,                      §
                                    §
      Defendant.                    §
___________________________________ §

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against MiMedia, Inc. with

prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                                 PAGE | 1
Case 1:22-cv-01803-FB-JRC Document 14 Filed 07/20/22 Page 2 of 2 PageID #: 78




Dated: July 20, 2022.                  Respectfully submitted,


                                       /s/Jay Johnson
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                                       ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing document was filed electronically on
July 20, 2022, and was served via CM/ECF on all counsel who are deemed to have consented to
electronic service.

                                       /s/Jay Johnson
                                       JAY JOHNSON (Admitted PHV)




NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                          PAGE | 2
